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                                                         EXHIBIT B

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Sent:                           Thursday, April 29, 2021 1:04 PM
To:                             Higgins, Kristin Snyder; Ashton, Jamie B.
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